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                               Exhibit 56



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                Case 1:01-cv-12257-PBS Document 6528-57 Filed 09/22/09 Page 2 of 5
Wells, Jerry - December 15, 2004 09:04:00 a.m.




     1:1      IN THE CIRCUIT COURT OF THE

       2                        SECOND JUDICIAL CIRCUIT,

       3                     IN AND FOR LEON COUNTY, FLORIDA

       4                                CASE NO. 98-3032A

       5     THE STATE OF FLORIDA, ex rel,

       6     VEN-A-CARE OF THE FLORIDA

       7     KEYS, INC., a Florida

       8     corporation, by and through

       9     its principal officers and

      10     directors, ZACHARY T. BENTLEY

      11     and T. MARK JONES,

      12                  Plaintiffs,                         VOLUME 1

      13     vs.                                            PAGES 1 - 174

      14     BOEHRINGER INGELHEIM

      15     CORPORATION; DEY, INC.; DEY,

      16     L.P.; EMD PHARMACEUTICALS,

      17     INC.; LIPHA, S.A. MERCK, KGaA;

      18     MERCK-LIPHA, S.A.; SCHERING

      19     CORPORATION; SCHERING-PLOUGH

      20     CORPORATION; ROXANE

      21     LABORATORIES, INC., and

      22     WARRICK PHARMACEUTICALS

      23     CORPORATION,

      24                  Defendants.

      25     ______________________________




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Wells, Jerry - December 15, 2004 09:04:00 a.m.




     2:1     VIDEOTAPED

       2     DEPOSITION OF:                      JERRY WELLS

       3     TAKEN AT INSTANCE OF:               The Defendants

       4     DATE:                               December 15, 2004

       5     TIME:                               Commenced at 9:04 a.m.

       6                                         Adjourned at 2:30 p.m.

       7     LOCATION:                           215 S. Monroe Street

       8                                         Tallahassee, Florida

       9     REPORTED BY:                        SANDRA L. NARGIZ

      10                                         Certified Realtime Reporter

      11                                         Certificate of Merit Holder

      12                  ACCURATE STENOTYPE REPORTERS, INC.

      13                        2894 REMINGTON GREEN LANE

      14               TALLAHASSEE, FL       32308     (850)878-2221

      15                                                                       2

      16     APPEARANCES:

      17                  REPRESENTING DEY, INC., DEY LP, EMD

      18                  PHARMACEUTICALS:

      19                  WILLIAM A. ESCOBAR, ESQUIRE

      20                  ANTONIA F. GIULIANA, ESQUIRE

      21                  KELLEY DRYE & WARREN

      22                  101 Park Avenue

      23                  New York, NY      10178

      24                  212-808-7800

      25                  KELLY OVERSTREET JOHNSON, ESQUIRE




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  124:1            Q      What was the nature of their complaint at the

       2     time?

       3           A      They just objected to changing the

       4     reimbursement methodology because it was going to

       5     represent a reduction in the gross amount that they were

       6     paid.

       7           Q      That is the gross amount that pharmacists

       8     would receive for Medicaid reimbursement?

       9           A      That is correct.

      10           Q      And even though the thing was dropped, you did

      11     testify in that proceeding; is that your recollection?

      12           A      I was deposed.

      13           Q      You were deposed.      And do you have a

      14     transcript of that deposition?

      15           A      I do not.

      16           Q      Do you know when that deposition occurred?

      17           A      It would have been in the late '80s,

      18     concurrent with the time that we adopted that pricing

      19     methodology.

      20           Q      Other than that testimony, are you aware of

      21     other instances that you recall now where you testified

      22     in connection with the reimbursement methodology?

      23           A      Last spring during the legislative session, I

      24     testified to a Senate committee, may have been a joint

      25     committee, I believe it was Senate, on the reimbursement




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  125:1      methodology that we used.

       2           Q      What was the nature of that proceeding?

       3           A      The committee was considering alternatives,

       4     pricing methodologies, changing the reimbursement

       5     structure for pharmacy specific to prescription drugs.

       6           Q      And you gave testimony in connection with the

       7     change, proposed change?

       8           A      I did.    Well, I gave testimony with respect to

       9     current methodology.

      10           Q      And do you have any copies of those

      11     transcripts?

      12           A      That was extemporaneous testimony.      I did not

      13     make a prepared speech.         I was responding to questions

      14     from the Legislature and explaining some of the

      15     terminology.

      16           Q      When did that take place?

      17           A      Last spring.

      18           Q      Spring 2003?

      19           A      2004.

      20           Q      So this year?

      21           A      This year.

      22           Q      That was before a legislative committee,

      23     correct?

      24           A      That is correct.

      25           Q      Did you give testimony in other proceedings in




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